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Exhibit D

 

 
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June 13, 2087

1, Joannie Conklin, um explatiiig my inféraction regarding a phone dall from CCAP on
Wednenday, June 9, 2017, @ 3:08.

Patty Bnsntingss; Coseandra Pinakowld, and Jennifer Uleh were on the phone.

Reey sled me questions tegarding the BROC coniplaints from Maggie McNamara and Robart

I told them that some of the statements on the letters were misleading or false, Maggie's work
was described as éléppy, and she was accused of being nude to co-workers and Departerent
Heads. 1 explained that J hed never. witnesved tliat behavior and quite to the contrary, Maggie
waa yelled at publically by elected offiaials and Department Heats, but always nemained-catm
and professional as she tried to defuse the situation. ‘She was redponsible for puttlng together
imecting-agendas for the Commissioner twice a month also, and her work was always scrutinized
for miszed commas end otter rainor exois that anyone could have mathe unter the
clicumstences, Sontetitnes changes were madd to thar agenda, by Cominissioners, minutes before
the start of mectings, allowing even more poasibility of errors. It ig unfhir to allege that Maggie
her fo in eny sos of ungodly we:

on ihe counseling lela. 1 viplalned that any scaplayes efbo hes aay sampled tadged against
them will be spoken to aad possibly written up, as the County’s comunion prective of handling
pomplainis regarding any employes. Stoud would have gone over thé points of the letter with
McNamara as.common ‘prestice, and whether either of them. agreed with che'complaint, she
would aJgn off agreeing that they had discouged eli points.

The-CCAP representatives did: notwatst nie to share atything 7 had heard thom otfer people" s
conveteations: or anything that f was not present for, as that would be ieerzay,

J told them about my encovtiter with Comnifesioner Amold in my office where she told me she
“wanted Stoud and McNamara fired wna that she wanted to write Studd up forinot answering &
question she axed bli, Shs asled me why they had to sponit so. much Hme-together behind his
tlosed office door (which | explainad to thant that it hed a places seacthiongh window). I told her
that McMamura, es the Deputy Clilef Clerk, had to be kept up-to-date on all happenings inand
‘around the courthouse in case of Stoud's absence at iny time. When she sald shé wanted to write
Stoud up for not anawarlbg her question, I told her she has:the right to do that, but she never
followed that up with a fetter. ;

7 was also asked about Maggie's complaint of scuual humasment regarding Rich Bly, and I told
them J knew ebout it, had not witaessed it, but eat In when Stoud addressed her complaint with
Ely.’

Regarding the Staud letter, I: told the CCAP people that the letter mule Hin Jook like'a spoiled
child tri that If things were not done bis way, he would not cooperate. } told them that Robert

 

 
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Stoud haa been in law eotorcement his entire carear, and be is a nile. follawer and a policy
enforcer, in my experince working with hitn, 1 had watchied hin, aa Chief Clerk, build a team of
people, iuchwling myself and McNemara, who worked together like a “well-diled machine” and
the fot that hie hard worl wae quasiloned atid criticized by Conumteatoner Arbold with.
accusations of iasebordination ssid. impropriety 1 in Just completely ridiculous,

At Hires, [felt that they were tryinj'to manipulate my words to guint a skewed version of the
treth,

They asked about the emount of power that Stovid had at Chief Cleck, end J-yold them that he had
power to the exten! thut he'shared all. tnforithtion with the Cammiselonere aind thet they made the
final decisions, They pushed this topic abouit three times repeatedly saying things like “so you'd
say that Stoud lua a lot of power in thet position?” to which I continued to anawer them with “he
had piower to the extant chat he would ahiare the infarmation with the Commissioners and that
they would make the final decisions.”

Alvo, during the coiweiuation, the CGAP representatives tiied to aay that Commlastoner Amold
was Just trylng to learn her job, and 1 let them know that ehe wea. not showlng up forthe daily
8:15 meetings with the other Commissioners and the Deputy Chief Clerk to’ get filled in on Court
House iésues for the day, and thet she would .complaii later thet ahe was not part of decisions
and never heard sbout seme of the things going on. She is very hard to reach by phone most of
the time, even though she carries personal and County call phones. Her lack of cooperation does:
not illustrate her wying to learn her job,

The CCAP people told me that they ave working for the Courtty’s Denefit, and I told them]
understand that but the County just wants-everytiing in the leters ¢0 be truthful and correct.

Gavce Conn “ffi

Jenne Conkle, Director of Human Resources

 

 
